               CaseAmended
AO 245C (Rev. 09/19)   1:18-cr-00037-RGA
                             Judgment in a Criminal CaseDocument        47 Filed 12/07/20 Page 1 of 8 PageID
                                                                                                  (NOTE:           #: 91with Asterisks (*))
                                                                                                         Identify Changes
                     Sheet 1


                                        UNITED STATES DISTRICT COURT
                                                     __________  District
                                                           District       of __________
                                                                    of Delaware
                                                                            )
              UNITED STATES OF AMERICA
                                                                            )
                                                                                AMENDED JUDGMENT IN A CRIMINAL CASE
                                  v.                                        )
                         PETER COKER                                        )   Case Number: 18-cr-37-1 RGA
                                                                            )   USM Number: 09252-015
Date of Original Judgment:             2/21/2020                            )   Christopher S. Koyste, Esq.
                                       (Or Date of Last Amended Judgment)   )   Defendant’s Attorney


THE DEFENDANT:
✔ pleaded guilty to count(s)
G                              ONE OF THE INFORMATION
G pleaded nolo contendere to count(s)
   which was accepted by the court.
G was found guilty on count(s)
   after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                 Nature of Offense                                                           Offense Ended                Count
Title 26 U.S.C. 7202            FAILURE TO PAY OVER TAX                                                     7/31/2014                   ONE




       The defendant is sentenced as provided in pages 2 through                8         of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
G The defendant has been found not guilty on count(s)
G Count(s)                                       G is G are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.
                                                                                                           12/7/2020
                                                                                Date of Imposition of Judgment


                                                                                Signature of Judge
                                                                                   7+(+2125$%/(5,&+$5'*$1'5(:686'-
                                                                                Name and Title of Judge


                                                                                Date
               CaseAmended
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                              Judgment in a Criminal Case          47 Filed 12/07/20 Page 2 of 8 PageID #: 92
                     Sheet 2 — Imprisonment                                                             (NOTE: Identify Changes with Asterisks (*))
                                                                                                   Judgment — Page         2     of         8
DEFENDANT: PETER COKER
CASE NUMBER: 18-cr-37-1 RGA

                                                         IMPRISONMENT

        The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
total term of :
TIME SERVED.




G      The court makes the following recommendations to the Bureau of Prisons:




G      The defendant is remanded to the custody of the United States Marshal.

G      The defendant shall surrender to the United States Marshal for this district:
       G     at                                G     a.m.      G    p.m.      on                                       .

       G     as notified by the United States Marshal.

G      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

       G     before 2 p.m. on                                            .

       G     as notified by the United States Marshal.

       G     as notified by the Probation or Pretrial Services Office.


                                                               RETURN
I have executed this judgment as follows:




       Defendant delivered on                                                        to

at                                                   with a certified copy of this judgment.




                                                                                                UNITED STATES MARSHAL


                                                                         By
                                                                                           DEPUTY UNITED STATES MARSHAL
                CaseAmended
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                               Judgment in a Criminal Case         47 Filed 12/07/20 Page 3 of 8 PageID #: 93
                      Sheet 3 — Supervised Release                                                       (NOTE: Identify Changes with Asterisks (*))
                                                                                                        Judgment—Page     3       of         8
DEFENDANT: PETER COKER
CASE NUMBER: 18-cr-37-1 RGA
                                                     SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of :
 3 YEARS.




                                                 MANDATORY CONDITIONS
1.   You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court.
         G The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
               substance abuse. (check if applicable)
4.   ✔
     G   You   must  make restitution in accordance with 18 U.S.C. § 3663 and 3663A or any other statute authorizing a sentence of
          restitution. (check if applicable)
5.   ✔
     G   You   must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.   G   You   must  comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
         directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
         reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.   G   You   must participate in an approved program for domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached page.
               CaseAmended
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                              Judgment in a Criminal Case         47 Filed 12/07/20 Page 4 of 8 PageID #: 94
                     Sheet 3A — Supervised Release
                                                                                                        Judgment—Page      4     of        8
DEFENDANT: PETER COKER
CASE NUMBER: 18-cr-37-1 RGA

                                    STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
      time frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
      the court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
      hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer
      to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
      days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
      probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
      was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
      tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
      first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
      require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
      person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.

Defendant's Signature                                                                                     Date
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                              Judgment in a Criminal Case         47 Filed 12/07/20 Page 5 of 8 PageID #: 95
                     Sheet 3B — Supervised Release                                          (NOTE: Identify Changes with Asterisks (*))
                                                                                          Judgment—Page       5      of         8
DEFENDANT: PETER COKER
CASE NUMBER: 18-cr-37-1 RGA

                                 ADDITIONAL SUPERVISED RELEASE TERMS
  The Defendant will be on home detention at the start of supervised release. As soon as Defendant tests negative for
  COVID-19 and the U.S. Probation Office can implement it, the home detention will include location monitoring. The
  location monitoring will last for two months, at the end of which the home detention will end.
               CaseAmended
AO 245C (Rev. 09/19)  1:18-cr-00037-RGA                Document
                              Judgment in a Criminal Case         47 Filed 12/07/20 Page 6 of 8 PageID #: 96
                     Sheet 3D — Supervised Release                                            (NOTE: Identify Changes with Asterisks (*))
                                                                                           Judgment—Page        6      of         8
DEFENDANT: PETER COKER
CASE NUMBER: 18-cr-37-1 RGA

                                     SPECIAL CONDITIONS OF SUPERVISION
  The defendant shall pay any financial penalty that is imposed by this judgment, and that remains unpaid at the
  commencement of the term of supervised release, as directed by the probation officer.

  The defendant shall provide the probation officer with access to any requested financial information.

  The defendant shall cooperate with tax collection efforts and filing requirements of the Internal Revenue Service.
               CaseAmended
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                              Judgment in a Criminal CaseDocument   47 Filed 12/07/20 Page 7 of 8 PageID #: 97
                     Sheet 5 — Criminal Monetary Penalties                                                     (NOTE: Identify Changes with Asterisks (*))
                                                                                                      Judgment — Page        7      of          8
DEFENDANT: PETER COKER
CASE NUMBER: 18-cr-37-1 RGA
                                          CRIMINAL MONETARY PENALTIES
    The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.
                  Assessment           5HVWLWXWLRQ)LQHAVAA Assessment*JVTA AssessPHQW
TOTALS           $ 100.00             $ 1,145,485.53                   $ :$,9('                      $                        $


G The determination of restitution is deferred until                    . An Amended Judgment in a Criminal Case (AO 245C) will be
     entered after such determination.

✔ The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.
G
    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
    the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
    before the United States is paid.

Name of Payee                            Total Loss***                        Restitution Ordered                        Priority or Percentage
 Internal Revenue Service                  $1,145,485.53                       $1,145,485.53
 IRS - RACS

 Attn: Mail Stop 6261

 Restitution

 333 W. Pershing Avenue

 Kansas City, MO 64108




TOTALS                           $               1,145,485.53             $               1,145,485.53


G    Restitution amount ordered pursuant to plea agreement $

G    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

G    The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

     G the interest requirement is waived for        G fine         G restitution.
     G the interest requirement for the      G fine         G restitution is modified as follows:


* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on
or after September 13, 1994, but before April 23, 1996.
               CaseAmended
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                              Judgment in a Criminal CaseDocument   47 Filed 12/07/20 Page 8 of 8 PageID #: 98
                     Sheet 6 — Schedule of Payments                                                       (NOTE: Identify Changes with Asterisks (*))
                                                                                                       Judgment — Page      8      of         8
DEFENDANT: PETER COKER
CASE NUMBER: 18-cr-37-1 RGA

                                                  SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A    ✔ Lump sum payment of $
     G                                 1,145,585.53       due immediately, balance due

          G not later than                                     , or
          G in accordance with G C,            G D,      G     E, or    G F below; or
B    G Payment to begin immediately (may be combined with              G C,       G D, or G F below); or
C    G Payment in equal                        (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                        (e.g., months or years), to commence                  (e.g., 30 or 60 days) after the date of this judgment; or

D    ✔ Payment in equal
     G                         monthly        (e.g., weekly, monthly, quarterly) installments of $     250.00        over a period of
          34 monthV    (e.g., months or years), to commence    60            (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E    G Payment during the term of supervised release will commence within                   (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F    G Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




G Joint and Several
     Case Number
     Defendant and Co-Defendant Names                                              Joint and Several                Corresponding Payee,
     (including defendant number)                    Total Amount                       Amount                          if appropriate.




G The defendant shall pay the cost of prosecution.
G The defendant shall pay the following court cost(s):
G The defendant shall forfeit the defendant’s interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment, (5)
fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of prosecution
and court costs.
